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    IT IS ORDERED as set forth below:



    Date: April 15, 2025
                                                        _________________________________

                                                                 Barbara Ellis-Monro
                                                            U.S. Bankruptcy Court Judge

  ________________________________________________________________


              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

    ORDER GRANTING MOTION FOR AN ORDER PURSUANT TO BANKRUPTCY
   RULE 2004 AUTHORIZING EXAMINATION OF JPMORGAN CHASE BANK AND
               DIRECTING THE PRODUCTION OF DOCUMENTS

         The Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of

 JPMORGAN CHASE BANK and Directing the Production of Documents [Doc. No. 262] (the

 “Motion”) filed by S. Gregory Hays, Chapter 7 Trustee (the “Trustee” or “Movant”) for the

 bankruptcy estate (the “Bankruptcy Estate”) of ARC Management Group, LLC, Debtor (the

 “Debtor”) in the above captioned case (the “Bankruptcy Case”), having been read and

 considered, it is

         ORDERED that the Motion be, and the same hereby is, granted as follows: pursuant to

 Fed. R. Bankr. P. 2004(a), the Movant is authorized to proceed with discovery and conduct an

 examination (the “Examination”) of a representative of JPMORGAN CHASE BANK (the
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 “Witness”) pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure concerning any

 and all matters within the scope permitted by Rule 2004(b), including, but not limited to, with

 regard to the topics set forth in the Trustee’s Notice of Bankruptcy Rule 2004 Examination of

 JPMORGAN CHASE BANK and the Production of Documents (the “Examination Notice”). It is

 further

           ORDERED that JPMORGAN CHASE BANK is COMMANDED to designate a

 representative to attend and testify at the Examination as to any and all matters within the scope

 of the Bankruptcy Case permitted by Rule 2004(b), including, but not limited to, the following: a)

 any account(s) of the Debtor or any principal of the Debtor, including William D. Wilson and

 Thresa Wilson, at JPMORGAN CHASE BANK or any related entity; and b) any Documents

 related to any account(s) of the Debtor or any principal of the Debtor, including William D. Wilson

 and Thresa Wilson, at JPMORGAN CHASE BANK or any related entity. 1 It is further

           ORDERED that the Examination may be rescheduled or adjourned from time to time and

 place to place by agreement of the parties, by announcement at the examination, or as set forth in

 a notice filed with the Court and served on the Witness and the Movant. It is further

           ORDERED that if attendance and, if applicable, production of designated documents in

 connection with said Examination, cannot be obtained voluntarily, the Movant may compel such

 attendance and production of documents as stated in Fed. R. Bankr. P. 2004(c) in the manner

 provided in Fed. R. Bankr. P. 9016, which incorporates the procedure for the issuance of a

 subpoena as set forth in Federal Rule of Civil Procedure 45. It is further




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   Capitalized, but undefined terms used herein shall have the meaning ascribed to such terms in
 the Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of
 JPMORGAN CHASE BANK and Directing the Production of Documents that was filed by the
 Movant.


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        ORDERED that the Witness shall timely respond to any document requests made by the

 Movant in accordance with Fed. R. Bankr. P. 2004(c). The Witness may assert written objections

 in good faith to the requests as if such requests had been served pursuant to Fed. R. Bankr. P. 7034

 and shall produce to the Movant all responsive documents that are not subject to a valid timely

 asserted objection.

        The Clerk is directed to serve a copy of this Order upon counsel for the Movant, the

 Witness, and the United States Trustee.

                               ***END OF DOCUMENT***
 Prepared and Presented by:
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